       Case 8:21-cv-00737-MJM            Document 1        Filed 03/23/21       Page 1 of 17



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

 PACIFIC LIFE INSURANCE
 COMPANY,
 700 Newport Center Dr., Newport Beach, CA
 92660,
                                                     C.A. No. 8:21-cv-737
                 Plaintiff,

                 v.                                  JURY TRIAL DEMANDED

 WELLS FARGO BANK, NA, as Securities
 Intermediary,
 101 N. Phillips Ave., Sioux Falls, SD 57104

                 Defendant.

                                           COMPLAINT

       Plaintiff, Pacific Life Insurance Company (“Pacific Life”), files and asserts this Complaint

against Defendant, Wells Fargo Bank, NA, solely in its capacity as Securities Intermediary (“Wells

Fargo”), and in support thereof, alleges and says:

                                             PARTIES

       1.      Pacific Life is an insurance company incorporated under the laws of the State of

Nebraska with its principal place of business in the State of California.

       2.      Wells Fargo is a National Banking Association organized and existing under federal

law with its Articles of Association stating its main office is located at an address in the State of

South Dakota. Wells Fargo is a citizen of South Dakota for purposes of diversity jurisdiction.

Wells Fargo is named as a party to this action solely because, as set forth below, in its capacity as

Securities Intermediary, it holds bare legal title of the Policy (as defined herein).
       Case 8:21-cv-00737-MJM           Document 1        Filed 03/23/21     Page 2 of 17



                                JURISDICTION AND VENUE

       3.      This Court has subject-matter jurisdiction under 28 U.S.C. § 1332 because there is

complete diversity of citizenship between the Plaintiff, a citizen of Nebraska and California, and

the Defendant, a citizen of South Dakota, and because the amount in controversy exceeds $75,000.

       4.      Venue is proper in this judicial district under 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to the Plaintiff’s claims occurred in the District of

Maryland.

                            FACTS COMMON TO ALL CLAIMS

                     The Policy Was an Illegal Human Life Wager and
                             Was Procured by Investors Who
                  Lacked an Insurable Interest in Mr. Schwartzberg’s Life

                                           Background

       5.      For hundreds of years, speculators have sought to use insurance to wager on the

lives of strangers. See, e.g., PHL Variable Ins. Co. v. Price Dawe 2006 Ins. Tr., 28 A.3d 1059,

1069 (Del. 2011) (“Price Dawe”) (noting that life wagering has existed “[s]ince the initial creation

of life insurance”); Sun Life v. Wells Fargo, 238 N.J. 157, 164 (2019) (“Bergman”) (explaining

that human life wagering has existed since at least 1419).

       6.      Although speculators have been around for hundreds of years, never has the human

life wagering problem been more wide-spread or involved such vast amounts of money than in

recent years. In the early 2000s, institutional investors began pooling large blocks of high-value

life insurance policies into special purpose vehicles, such as tax-exempt entities or trusts, the

interests of which were securitized and sold to other investors. See, e.g., Price Dawe, 28 A.3d at

1069 (citing Susan Lord Martin, Betting on the Lives of Strangers: Life Settlements, STOLI, and

Securitization, 13 U. Pa. J. Bus. L. 173, 192 (2010)).



                                               -2-
       Case 8:21-cv-00737-MJM            Document 1       Filed 03/23/21      Page 3 of 17



        7.       Making matters worse, in the early 2000s, there was not a sufficient supply of

existing life insurance policies to satisfy investor demand. In particular, investors were interested

in high face amount policies insuring the lives of senior citizens, but there were only a limited

number of seniors who had unwanted policies of sufficiently high value. As a result, promoters

sought to solve the supply side shortage by generating new, high value policies. These resulting

life insurance policies came to be known as Stranger Originated Life Insurance (“STOLI”)

policies.

        8.       One such STOLI promoter was a family of interrelated Delaware entities known

generally as Coventry, which operated an extremely large Delaware-centered STOLI program that

generated thousands of STOLI policies on the lives of senior citizens from all over the United

States. As explained below, Coventry operated a “back-end” STOLI scheme using non-recourse

premium finance program.

        9.       Entities such as Coventry—known in the STOLI industry as “funders”—worked

with a nationwide network of insurance producers, who, acting as the funders’ agents, assisted the

funders by, among other things, identifying senior citizens meeting the funders’ investment criteria

and influencing those seniors to become involved in the STOLI transactions the funders were

orchestrating.

        10.      The STOLI transactions orchestrated by these funders, including Coventry and its

agents, were presented to hand-selected senior citizens in rosy terms that camouflaged the

transactions’ impropriety as being a “risk-free” opportunity, “just a good deal,” or as being similar

to “hitting the lottery” or acquiring a winning “bingo” card.

        11.      The specific mechanisms by which each funder’s STOLI program operated could

and often did vary in one respect or another. But each shared basic similarities including that the



                                                -3-
         Case 8:21-cv-00737-MJM          Document 1        Filed 03/23/21       Page 4 of 17



policies at issue were procured and paid for by third parties without an insurable interest in the

insureds.

         12.   Not only do STOLI schemes violate insurable interest laws and the public policy

against wagering on human life, but these schemes victimize the seniors who are induced to permit

entities like Coventry to procure, or cause to be procured, policies on their lives. Indeed, although

STOLI “may appear to be a ‘victimless’ crime,” STOLI transactions actually harm seniors in a

variety of ways, including by exposing them to possible litigation and other financial losses. See

Fla. Office of Ins. Regulation, Report on Stranger Originated Life Insurance (“STOLI”) and the

use of Fraudulent Activity to Circumvent the Intent of Florida’s Insurable Interest Law, at 12 &

n.18 (Jan. 2009), available at http://www.floir.com/siteDocuments/STOLIRpt012009.pdf

(hereinafter “STOLI Report”).

         13.   For example, STOLI schemes often use “fraudulent means such as lying,

misrepresentation or omission of material facts” in policy applications. Id. at 12. Such false

statements often include misrepresentations about “the true net worth of the proposed insured” and

about “the insurable interest of the intended policy owner.” Id.

         14.   In many cases, these misrepresentations are made without the seniors’ knowledge.

Indeed, as the Florida Office of Insurance Regulation found when it studied STOLI, “[s]eniors are

not told about misrepresentations made on their applications by an agent or broker involved in the

scheme.” Id. at 13.

         15.   In order to induce seniors into participating in these schemes, “[s]eniors are: ‘wined

and dined’; promised ‘free insurance’; told that they are in the situation of ‘heads, I win or tails, I

can’t lose’; and promised cash or a profit for their participation in these schemes.” STOLI Report

at 13.



                                                 -4-
       Case 8:21-cv-00737-MJM            Document 1        Filed 03/23/21      Page 5 of 17



       16.     But these promises of “free insurance” are an illusion because STOLI policies are

void ab initio, meaning that no insurance coverage ever really existed. Price Dawe, 28 A.3d at

1067-68.

       17.     And rather than enjoy the benefit of any actual life insurance, “[s]eniors that are

lured into participating in STOLI schemes for financial gain are at risk of owing money when the

fraudulent scheme is uncovered.” STOLI Report, at 20.

       18.     In short, STOLI policies violate insurable interest and anti-wagering laws, take

advantage of senior citizens, and operate to convert legitimate life insurance products—which are

designed to provide actual protection to families and others with an interest in the continued life

of the insureds—into cash machines whereby strangers to the insureds are more interested in

seeing the insureds dead than alive.

           Coventry’s Two-Year, Non-Recourse Premium Finance STOLI Scheme

       19.     It is widely recognized that one of the most common STOLI schemes involved the

use of two-year, non-recourse premium financing. Under this type of STOLI scheme, a trust is

typically created in the insured’s name to serve as the nominal owner of the policy and to enter

into a two-year loan where the only collateral is the policy itself, which is assigned as such to the

STOLI lender. The loan is designed to coincide with the policy’s two-year contestable period, and

the policy is relinquished or sold to an investor after that period has expired.

       20.     The Delaware Supreme Court in Price Dawe recognized that policies created using

this same type of two-year non-recourse premium finance scheme—which is what Coventry

orchestrated here—are STOLI and thus void ab initio. 28 A.3d at 1070-71, n.27 (citing Martin,

Betting on the Lives of Strangers, 134 U. Pa. J. Bus. L. at 175 (STOLI exists where a trust is used

to own the policy and the interests in the trust are transferred to an investor at the end of a two-

year loan)); id. at n.32 (citing Spin-Life Insurance Policies: A Dizzying Effect on Human Dignity

                                                -5-
       Case 8:21-cv-00737-MJM            Document 1       Filed 03/23/21      Page 6 of 17



and the Death of Life Insurance, 7 Ave Maria L. Rev. 605, 606, 622-24 (2009) (STOLI includes

two-year loans where “the loan amount, interest, and fees imposed by the investors are high enough

that the applicant is forced to accept the offers made by the investors and transfer ownership of the

policy”)).

       21.     Since at least 1914, Delaware law has followed the United States Supreme Court’s

decision in Warnock v. Davis, 104 U.S. 775 (1881). See Balt. Life Ins. Co. v. Floyd, 28 Del. 201,

207, 91 A. 653, 656 (Del. 1914) (“Where a third party, without any insurable interest in the life of

another, procures a policy of insurance on the life of such person, either by having a policy issued

directly to himself, or by having the person whose life is insured take out a policy to himself, and

then assign it, these facts, as is held in Warnock v. Davis [104 U.S. 775, 26 L. Ed. 924],

conclusively show that the transaction is a mere speculation on the life of another, and as such is

contrary to public policy, and therefore void.”).

       22.     Although dating back to 1881, Warnock involved a stranger-originated, premium-

financed life insurance policy where an insured was induced to apply for a policy that was paid for

by an entity known as the Scioto Trust Association. In exchange, the trust promised that when the

insured died, one tenth of the policy’s death benefit would be paid to his wife. After the insured

passed. the Court held that the policy was a mere wager on the life of the insured.

       23.     Not surprisingly, therefore, every court that has considered Coventry’s two-year,

non-recourse premium finance scheme under Delaware law has held, as a matter of law, that: (i)

Coventry operated a STOLI program; (ii) policies produced by that program are void ab initio;

and (iii) where, as here, an insurer challenges the policy for lack of insurable interest, no death

benefit need be paid. See, e.g., Sun Life v. U.S. Bank, No. 14-CIV-62610, 2016 WL 161598, at

*10-13 (S.D. Fla. Jan. 14, 2016) (“Malkin”), aff’d, 693 F. App’x 838 (11th Cir. June 12, 2017);



                                                -6-
       Case 8:21-cv-00737-MJM            Document 1        Filed 03/23/21       Page 7 of 17



U.S. Bank v. Sun Life, No. 14-4703, 2016 WL 8116141, at *12-14 (E.D.N.Y. Aug. 30, 2016) (“Van

de Wetering”), adopted in full, 2017 WL 347449 (E.D.N.Y. Jan. 24, 2017); Sun Life v. U.S. Bank,

369 F. Supp. 3d 601, 609 (D. Del. 2019) (“Sol”).

       24.     The New Jersey Supreme Court also recently followed Delaware’s lead, holding

that STOLI policies violate insurable interest laws, and specifically holding that two-year, non-

recourse STOLI schemes are a common way in which STOLI policies were created. See Bergman,

238 N.J. at 171-72 (“Generally, an investor funds a STOLI policy from the outset, which makes it

possible to obtain a policy with a high face value. The investor may lend the insured ‘the money

to pay the premiums for’ the period of incontestability, typically two years. It is also common for

an insured to buy the policy in the name of a trust and name a ‘spouse or other loved one as the

trust beneficiary.’ In such arrangements, [i]f the insured dies within [the contestability] period,

his spouse, as beneficiary of the insurance trust, will get the death benefit (the free insurance), pay

back the loan plus interest from the proceeds, and often pay the broker up to fifty percent of the

benefit received. If the insured lives beyond two years or the contestability period, then the life

settlement company buys the beneficial interest in the insurance trust, paying the insured a lump

sum percent of the face value of the policy . . . . The life settlement company or its investors will

continue to pay the premiums on the policy, and when the insured dies, they will get the death

benefit.   Clearly, the sooner the insured dies, the greater the company’s profit.             STOLI

arrangements thus present a significant legal problem: the investors have ‘no insurable interest in

the life of the insured.’ As a result, the transactions pose questions in light of New Jersey’s policy

against wagering.”) (citing Martin, Betting on the Lives of Strangers, 13 U. Pa. J. Bus. L. at 188).

       25.     Likewise, state insurance departments have long recognized that such two-year,

non-recourse loan schemes are STOLI. See Fla. Office of Ins. Regulation, Secondary Life



                                                 -7-
        Case 8:21-cv-00737-MJM             Document 1       Filed 03/23/21     Page 8 of 17



Insurance Market Report To The Florida Legislature, at 11-12 (Dec. 2013), available at

https://www.floir.com/siteDocuments/SecondaryLifeInsMarketReport2013.pdf (“In a typical

STOLI transaction, the promoters and investors may establish an irrevocable trust, obtain an

insurance policy on a senior, obtain a premium-finance loan, and pay the life insurance policy

premiums for two years (i.e., the contestable period). The money needed to pay these premiums,

which can be substantial, is financed through premium-finance lenders. Typically, these premium-

finance loans are non-recourse loans, meaning that the life insurance policy is the only collateral

for the loan and the premium-finance lender can pursue only the collection of the collateral if there

is a default.”).

        26.        And as to Coventry specifically, it has been determined that Coventry did not act

in “good faith” when it procured policies using its two-year, non-recourse premium finance

program. See Sol, 369 F. Supp. 3d at 614 (“On the record before the Court, taking the evidence in

the light most favorable to Defendant, a reasonable factfinder could only find that the third parties

– Coventry, LaSalle, and/or SFG – did not act in good faith.”).

        27.        Moreover, Coventry has been investigated by state insurance commissioners,

which have made findings in connection with Coventry’s alleged fraudulent activities in the

business of life insurance. See Testimony of Mary Beth Senkewicz, at 9-11 (summarizing

investigations by the insurance departments of New York and Florida into fraudulent activities by

Coventry, noting that Coventry agreed to pay a $1.5 million fine in connection with Florida’s

investigation).

                                    The Allan Schwartzberg Policy

        28.        In or around late 2005, Allan Z. Schwartzberg was in his early-seventies living in

Bethesda, Maryland.

        29.        At no time did Coventry have an insurable interest in Mr. Schwartzberg’s life.

                                                  -8-
       Case 8:21-cv-00737-MJM          Document 1       Filed 03/23/21    Page 9 of 17



       30.     In or around late 2005, Coventry, by way of its agent, Howard Kaye—at the time

an insurance producer at Barry Kaye Associates, Inc., located in Boca Raton, Florida—used Mr.

Schwartzberg to procure from Pacific Life a $10,000,000 life insurance policy on the life of Mr.

Schwartzberg (the “Policy”)—not for Mr. Schwartzberg or his family or for a legitimate insurance

purpose—but rather for Coventry itself.

       31.     This was done using Coventry’s two-year, non-recourse premium finance STOLI

scheme, and the transaction at issue here is a mirror image of the STOLI transactions Coventry

concocted in Malkin, Van de Wetering, and Sol.

       32.     To that end, on or about October 27, 2005, to facilitate this STOLI transaction,

Coventry created a sham Delaware statutory trust that Coventry called the Schwartzberg Family

Trust (the “Sham Trust”). Coventry then installed its go-to trustee, Wilmington Trust Company

(“Wilmington Trust”), as the trustee of the Sham Trust, and thereafter used the Sham Trust as a

cover to procure the Policy.

       33.     On or about October 27, 2005, Coventry, by way of Mr. Kaye, submitted to Pacific

Life an application for the Policy. A copy of the application is attached hereto as Exhibit “A.”

(Appropriate redactions of personal information have been made.)

       34.     The application indicated that it was executed by Mr. Schwartzberg in Wilmington,

Delaware.

       35.     The application also indicated that it was executed by Joann A. Rozell in

Wilmington, Delaware, on behalf of Wilmington Trust as trustee of the Sham Trust; the Sham

Trust was also named as the initial Policy owner and beneficiary.




                                              -9-
      Case 8:21-cv-00737-MJM            Document 1       Filed 03/23/21      Page 10 of 17



       36.     In reliance upon the representations contained in the application documents and

other documents and information submitted to Pacific Life in connection with its underwriting of

the application, Pacific Life issued the Policy, as a Delaware policy, with number VF51468520.

       37.     Upon information and belief, and unbeknownst to Pacific Life at the time, at or

prior to the time of Policy issuance, a sub-trust to the Sham Trust entered into a non-recourse

premium finance agreement with Coventry, whereby Coventry would pay the initial premiums on

the Policy, plus whatever additional premiums came due during the two-year contestable period.

       38.     On or about November 23, 2005, the initial premium under the Policy was paid via

a wire transfer in the amount of $534,375 to Pacific Life. Upon information and belief, the

premium payment originated from Coventry and/or other persons or entities who lacked an

insurable interest in Mr. Schwartzberg’s life and were participating in a wager on his life.

       39.     On or about November 28, 2005, the Policy’s delivery receipt was executed in

Wilmington, Delaware by Scott A. Huff on behalf of Wilmington Trust as trustee of the Sham

Trust (which was the initial owner and beneficiary of the Policy). See 18 Del. C. § 2704(g)

(explaining Delaware law regarding insurable interest applies to trust-owned life insurance policies

delivered in Delaware).

       40.     The Policy was procured or caused to be procured by Coventry and its agents and

others, all of whom lacked an insurable interest in the life of Mr. Schwartzberg, using the same

two-year, non-recourse premium finance STOLI scheme that was addressed in detail in Malkin,

Van de Wetering, and Sol and which has been illegal in Delaware for well over one hundred years.

       41.     As a result, the Policy is a void ab initio human life wager under Delaware law.




                                               - 10 -
       Case 8:21-cv-00737-MJM            Document 1       Filed 03/23/21    Page 11 of 17



                                      Post-Issuance Activity

       42.     On information and belief, as part of the non-recourse premium finance loan

agreement used to fund the premiums under the Policy, in or around late-2007 or early-2008, the

loan term would have come due and the Policy either could have been relinquished to Coventry in

full satisfaction of the loan or sold for an amount in excess of the amount owed under the loan so

that the proceeds could be used to repay the loan.

       43.     On information and belief, around that same time, Mr. Kaye’s office implored Mr.

Schwartzberg not to relinquish the Policy to Coventry as he claimed that his office had found a

buyer for the Policy willing to pay an amount in excess of the amount owed under the loan from

Coventry.

       44.     On information and belief, in reliance on Mr. Kaye’s assurances that a buyer for

the Policy had been found, Mr. Schwartzberg paid approximately $800,000 to Coventry in

satisfaction of the loan and in lieu of relinquishing the Policy.

       45.     On or around March 13, 2008, Wilmington Trust, on behalf of the Sham Trust,

requested that Pacific Life change the owner of the Policy from the Sham Trust to Mr.

Schwartzberg, himself, and change the beneficiary of the Policy from the Sham Trust to the

Schwartzberg Family Irrevocable Trust (the “Buyout Trust”).

       46.     On information and belief, shortly after repaying the loan from Coventry in reliance

on Mr. Kaye’s assurances, Mr. Kaye informed Mr. Schwartzberg that the purported buyer Mr.

Kaye had lined up was no longer willing to purchase the Policy.

       47.     On information and belief, after months of trying (unsuccessfully) to find a another

buyer for the Policy, the only willing purchaser that could be found was Coventry, which ended

up purchasing the Policy for approximately $400,000. Thus, after being convinced by Mr. Kaye



                                                - 11 -
       Case 8:21-cv-00737-MJM           Document 1      Filed 03/23/21     Page 12 of 17



not to relinquish the Policy to Coventry, and after instead being convinced by Mr. Kaye to acquire

all Policy rights by paying approximately $800,000 to Coventry in satisfaction of the loan,

Coventry (approximately just 8 months later) would only pay Mr. Schwartzberg approximately

$400,000 for the Policy. Mr. Schwartzberg also had to pay approximately $75,000 in commissions

to the broker who facilitated the sale to Coventry, so Mr. Schwartzberg was, in the end, left with

a net sale price of only $325,000 resulting in a loss to him of approximately $475,000 (the

$800,000 payment to Coventry plus the $75,000 in commissions, less the $400,000 that Coventry

was willing to later pay for the Policy).

       48.      Therefore, Coventry profited from the repayment of the initial non-recourse

premium finance loan and managed to purchase the Policy it had initially procured at a discount

while Mr. Schwartzberg ultimately took a significant loss.

       49.      On or around November 10, 2008, Mr. Schwartzberg requested Pacific Life change

the beneficiary of the Policy from the Buyout Trust to his children, Shana and Robert

Schwartzberg.

       50.      Just one week later, on or around November 17, 2008, Mr. Schwartzberg requested

Pacific Life change the owner and beneficiary of the Policy from himself as the owner and his

children as the beneficiaries to Wells Fargo Bank, N.A., as Securities Intermediary.

       51.      On information and belief, Wells Fargo was, at that time, acting as Securities

Intermediary for Coventry.

       52.      On information and belief, sometime after Coventry’s acquisition of the Policy,

Coventry sold the Policy to AIG in accordance with a requirements contract between the two

entities, whereby AIG would purchase thousands of Coventry’s manufactured policies, including

the Policy.



                                              - 12 -
       Case 8:21-cv-00737-MJM          Document 1        Filed 03/23/21      Page 13 of 17



       53.     As a result of the requirements contract, on information and belief, AIG amassed a

portfolio containing approximately 7,000 Coventry-manufactured policies totaling approximately

$20 billion in face value.

       54.     On information and belief, in or around December 2016, The Blackstone Group

(“Blackstone”) purchased an approximately $4.5 billion tranche of life insurance policies from

AIG. On information and belief, this tranche included the Policy.

       55.     On information and belief, Blackstone holds its life insurance investment

portfolio(s) through a web of Delaware, Ireland, and Cayman-based corporate entities and

partnerships. On information and belief, the ultimate beneficial owner of the Policy is presently

Viva Capital 3, L.P. (“Viva”).

       56.     On or around January 18, 2021, Mr. Schwartzberg passed away.

       57.     On information and belief, a claim for the Policy’s death benefit was subsequently

made by or on behalf of Wells Fargo as Securities Intermediary for Viva.

       58.     Subsequently, Pacific Life discovered that the Policy was procured by Coventry

through its STOLI scheme and that, under Delaware law, the Policy lacked an insurable interest

prior to and at its inception and that the Policy was merely a wager on Mr. Schwartzberg’s life.

       59.     During its claim investigation, Pacific Life also learned of the facts and

circumstances surrounding the false promises made to Mr. Schwartzberg in or around 2008 about

the availability of a buyer for the Policy, and of the losses sustained by Mr. Schwartzberg because

he was induced to participate in Coventry’s STOLI program.

       60.     Pacific Life now seeks a declaration that the Policy is void ab initio because it was

procured as a human life wager and otherwise lacked insurable interest under Delaware law.




                                              - 13 -
       Case 8:21-cv-00737-MJM             Document 1       Filed 03/23/21      Page 14 of 17



                               FIRST CAUSE OF ACTION
                             DECLARATORY JUDGMENT –
                      ILLEGAL HUMAN LIFE WAGERING CONTRACT

       61.        Pacific Life hereby incorporates by reference each and every allegation contained

in the preceding paragraphs as if set forth herein at length.

       62.        The Policy was applied for and signed in Delaware by a Delaware statutory trust,

as owner and beneficiary of the Policy. The Policy was then actually delivered to the trustee of

the Sham Trust, Wilmington Trust, at its offices in Wilmington, Delaware. The Policy is governed

by Delaware law.

       63.        The Delaware Constitution provides that “[a]ll forms of gambling are prohibited in

this State except [those explicitly set forth in the statute].” Del. Const. Art. II, § 17. Moreover,

the Delaware Supreme Court has addressed the issues associated with life insurance policies used

to wager on the death of insureds and has held that, under Delaware law, such policies are mere

wagering contracts and are void ab initio. Price Dawe, 28 A.3d at 1067-68.

       64.        As set forth herein, the Policy was, from the outset, procured or caused to be

procured by Coventry and its agents and others and was intended as a wager on the life of Mr.

Schwartzberg. Stranger investors were wagering on Mr. Schwartzberg’s life and hoping to trigger

a secondary market cash-in on the Policy’s $10 million death benefit.

       65.        Accordingly, Pacific Life seeks, and is entitled to, a declaratory judgment that the

Policy was an illegal wagering contract that violated the Delaware Constitution and the public

policy of Delaware, thus rendering the Policy void ab initio, meaning that the Policy never came

into existence.




                                                 - 14 -
       Case 8:21-cv-00737-MJM            Document 1       Filed 03/23/21       Page 15 of 17



                                SECOND CAUSE OF ACTION
                               DECLARATORY JUDGMENT –
                              LACK OF INSURABLE INTEREST

        66.     Pacific Life hereby incorporates by reference each and every allegation contained

in the preceding paragraphs as if set forth herein at length.

        67.     The Policy was intentionally structured to be a “trust-owned insurance policy” as

defined by Delaware’s insurable interest statute, 18 Del. C. § 2704(e)(4). Because the Policy was

delivered to the place of business of the trustee of the Sham Trust, Wilmington Trust, at its offices

in Wilmington, Delaware, the existence of an insurable interest “shall be governed by [Delaware’s

insurable interest statute] without regard to [the] insured’s state of residency or location.” 18 Del.

C. § 2704(g).

        68.     Under Delaware law, a valid and legitimate insurance trust can have a valid

insurable interest in the life of the insured. See Del. C. § 2704(c)(5).

        69.     However, because the Sham Trust was an illegitimate cover for the wager on Mr.

Schwartzberg’s life, the Sham Trust lacked any insurable interest in the life of Mr. Schwartzberg.

Accordingly, no insurable interest existed at the time of issuance of the Policy, and the Policy is

void ab initio for lack of insurable interest.

        70.     Additionally, the Policy was applied for, paid for, and issued at the behest of

individuals or entities—with no insurable interest in the life of the insured—who procured the

Policy for the purpose of benefitting stranger investors in the life insurance secondary market.

Accordingly, the Policy is void ab initio for lack of an insurable interest.

        71.     Therefore, Pacific Life seeks, and is entitled to, a declaratory judgment that the

Policy lacked insurable interest because it was procured or caused to be procured by and for the

benefit of strangers without any insurable interest under Delaware law.



                                                 - 15 -
      Case 8:21-cv-00737-MJM          Document 1        Filed 03/23/21      Page 16 of 17



       WHEREFORE, Pacific Life respectfully requests the entry of judgment by this Court as

follows:

       a.    Declaring that the Policy is void ab initio due to it having been procured as a

             wagering contract on the life of Mr. Schwartzberg;

       b.    Declaring that the Policy is void ab initio due to it having been procured without a

             valid insurable interest at inception;

       c.    Declaring that because the Policy is void ab initio it never existed;

       d.    Declaring that because the Policy is void ab initio, the Court will leave the parties

             to this illegal contract as it finds them, permitting Pacific Life to retain the

             premiums paid on the Policy, or, in the alternative, declaring that Pacific Life may

             retain some or all of the premiums paid on the Policy to effectuate an offset with

             respect to Pacific Life’s costs and losses associated with the Policy;

       e.    Awarding Pacific Life attorneys’ fees and costs associated with bringing this

             lawsuit, as determined by the Court; and

       f.    Awarding Pacific Life any further relief this court deems appropriate.


Dated: March 23, 2021

                                    By:    s/ Chad E. Kurtz
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                                            Michael J. Miller (pro hac vice to be filed)
                                            Gregory J. Star (pro hac vice to be filed)
                                            Philip J. Farinella (pro hac vice to be filed)

                                             - 16 -
Case 8:21-cv-00737-MJM   Document 1    Filed 03/23/21      Page 17 of 17



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                              - 17 -
